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                                   STATEMENT OF FACTS

        Your affiant, Katherine Wilson, is a Special Agent assigned with the Federal Bureau of
Investigation (FBI) assigned to the Joint Terrorism Task Force (JTTF) out of the San Francisco
field office, San Jose resident agency. In my duties as a Special Agent, I have gained training and
experience in interviewing and interrogation techniques, arrest procedures, search warrant
applications, the execution of searches and seizures, the exploitation of lawfully obtained evidence
and data, and various other procedures. Currently, I am tasked with investigating criminal activity
in and around the Capitol grounds on January 6, 2021. As a Special Agent, I am authorized by law
or by a Government agency to engage in or supervise the prevention, detection, investigation, or
prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                                    Facts Specific to Biao QU

       Biao QU travelled to Washington, D.C on January 5, 2021 with a plan to disrupt the
Congresssional proceedings. Once in Washington on January 6, QU marched on the Capitol, and
entered the Capitol building. As he walked through the building, he took videos and photos and
posted them on his social media.

       QU was an active Twitter user in the build-up to, and then throughout the day, on January
6. His account was identified as @cjjqb. According to at least one tipster, QU’s Twitter profile
name was originally “Qu Biao,” before QU changed it to “Fan of Trump,” and then to “Trump
2021.” Tipsters who followed QU’s Twitter and Telegram accounts identified the account holder
as Biao QU and provided tweets and videos that QU posted on his Twitter account and statements
that QU made on his Telegram account.

       On December 21, 2020, QU called for his Twitter followers to “Block the Capitol.” That
same day, QU repeatedly informed his followers that he would be attending the rally on January
6, 2021 at the U.S. Capitol.

       On December 24, 2020, QU posted about the rally to “surround Congress Capitol.” That
same day, QU posted to @USArmy, “The snow will turn red with blood again on January 6, 2021”
and separately called for readers to occupy the U.S. Capitol.

      Three days later, on December 27, 2020, QU posted that they should bring “not only bricks
weapons” in regards to the rally at the U.S. Capitol.

      On December 29, 2020, QU re-tweeted a post, which read: “On January 6, bring your gun
to Washington to show your firepower[.]”

       On January 5, 2021, QU posted the following photo to his Twitter account:
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       By the afternoon of January 6, 2021, QU appeared to be standing in front of the U.S.
Capitol based on a video and the pictures he tweeted, to include:
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       At around the same time, QU sent the following Telegram messages:




       Open source images reflect that QU walked towards the U.S. Capitol building, and entered
through the Rotunda doors:
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       According to U.S. Capitol surveillance footage, QU entered the Capitol building through
the Rotunda doors at approximately 2:40 pm. Once inside, he walked through the Rotunda: 1




       He then walked through Statuary Hall:




1
 The timestamps in the images are in Universal Coordinated Time, five hours ahead of Eastern
Standard Time.
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        This image is consistent with a video, which QU took as he walked through Statuary Hall.
In the video, QU can be heard chanting in Mandarin: “We are inside the Capitol. We have not seen
any Senators or Congressmen yet.” He posted that video to Twitter on January 6, 2021. 2

        After leaving Statuary Hall, QU walked through the Statuary Hall Connector and down
other hallways. Here is QU in a selfie, as he walked through a hallway in the U.S. Capitol. He
posted this selfie on Telegram on January 6, 2021:




       Once arrived at the East Stairs, he stopped to take more pictures/videos:

2
  By the time, the search warrant was returned on QU’s Twitter account, QU had deleted this
video. However, multiple tipsters forwarded the video to the FBI.
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       This image is consistent with another video that QU took and posted, which reflects a
hallway with the same floor tiles, filled with smoke.

        QU then walked to the Upper House Door, where he appears to be taking more
pictures/videos:




       He walked out of the Capitol building through the East Front House Door at 2:57 pm.
Thereafter, open-source images reflect QU on the Capitol building steps, smoking a cigarette with
his mask off:
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                                Identification and Interview of QU

        According to records obtained through a search warrant which was served on Verizon, on
January 6, 2021, in and around the time of the incident, the cell phone associated with QU was
identified as having utilized a cell site consistent with providing service to a geographic area that
includes the interior of the United States Capitol building.

       On August 4, 2021, FBI agents spoke with QU outside his place of work for approximately
30 minutes during daytime hours. At that time, QU was not wearing a mask. QU told them that he
was in Washington D.C. on January 6, 2021, and that he walked beyond a barricade on the Capitol
grounds. He denied entering or being inside the Capitol Building, however. When agents showed
QU pictures of himself inside the Capitol Building, QU said that it was not him in the photographs.
QU then declined to answer any more questions about his entering the Capitol Building on January
6th.

        Based on security camera footage, as well as third party footage at the U.S. Capitol
Building from January 6, 2021, QU is distinctively dressed. He is in a long sleeved hoodie, dark
pants, a black USA hat, and a mask, carrying a black backpack with white lines and an American
flag drapped across his body. Agents reviewed these images and, based on their personal
experience meeting and interviewing QU, they concluded that the man in these images and videos
appears to be QU. Further, the FBI received approximately 41 tips identifying QU, informing the
FBI that QU had been inside the Capitol Building, and forwarding QU’s Twitter and Telegram
posts, many of which are discussed above.

      Based on the foregoing, your affiant submits that there is probable cause to believe that
Biao QU violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter
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or remain in any restricted building or grounds without lawful authority to do so; and (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; or attempts or conspires to do so.
For purposes of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off,
or otherwise restricted area of a building or grounds where the President or other person protected
by the Secret Service, including the Vice President, is or will be temporarily be visiting; or any
building or grounds so restricted in conjunction with an event designated as a special event of
national significance.

        Your affiant submits there is also probable cause to believe that Biao QU violated 40 U.S.C.
§ 5104(e)(2)(C), (D) and (G), which makes it a crime to willfully and knowingly (C) with the
intent to disrupt the orderly conduct of official business, enter or remain in a room in any of the
Capitol Buildings set aside or designated for the use of— (i) either House of Congress or a
Member, committee, officer, or employee of Congress, or either House of Congress; or (ii) the
Library of Congress; (D) utter loud, threatening, or abusive language, or engage in disorderly or
disruptive conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent
to impede, disrupt, or disturb the orderly conduct of a session of Congress or either House of
Congress, or the orderly conduct in that building of a hearing before, or any deliberations of, a
committee of Congress or either House of Congress; and (G) parade, demonstrate, or picket in any
of the Capitol Buildings.




                                                     _________________________________
                                                     Special Agent Katherine Wilson
                                                     Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 21st day of June, 2023.
                                                     G. Michael    Digitally signed by G. Michael
                                                                   Harvey

                                                     Harvey        Date: 2023.06.21 12:53:00
                                                     ___________________________________
                                                                   -04'00'

                                                     G. MICHAEL HARVEY
                                                     U.S. MAGISTRATE JUDGE
